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IN THE UNITED STATES DISTRICT CCURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA
PITTSBURGH

KENNETH STAFFORD,

2:17-CV-00749-MJH
Plaintiff,

VS.

TROOPER JOSEPH B. MORRIS;
TROOPER DANIEL HARRIS; TROOPER
JOSEPH YURAN; TROOPER RONALD
FLAGLEY; CORPORAL DANIEL
SINDLINGER; AND JOHN DOES 1-10

Defendants,

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AND NOW, this 26th day of March, 2019, after careful consideration of the Amended
Complaint (ECF No. 21); Defendants’ Answer and Aft`irmative Defenses (ECF No. 26);
Defendants’ Motion for Summary Judgment, Brief in Support, Appendix, and Concise Statement
of Material Facts (ECF Nos. 45-48); Plaintiff’s Brief in Opposition, Plaintift’ s Response to
Defendant’s Statement of Facts, and Plaintift` s Supplemental Statement of Facts (ECF No. 5 7) ;
Defendants’ Response to Plaintift` s Staternent of Material and Disputed Facts (ECF No. 62);
Defendants’ Reply Brief (ECF No. 63); the arguments of counsel, and for the reasons stated in
this Court’s Opinion (ECF No. 66), it is hereby ordered as follows:

1. As regards, Defendants, Harris, Yuran, Flagley, and Sindlinger, Plaintiff has

Withdrawn claims against said defendants, and they are dismissed from the case With
prejudice

2. As regards, Defendants, Morris, Defendants’ Motion for Summary Judgment is
GRANTED.

Judgment is entered in favor of Defendants and against Plaintiff as to all counts.

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BY THE COURT:

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Marilyn/J. 'H Ii§ b
United States D‘istrict Judge

